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                            UNITED STATES DISTRICT COURT
                                                   for the
                                          Southern District of Illinois




                          vs.                            Case Number:




                              NOTICE AND CONSENT TO
                         PROCEED BEFORE A MAGISTRATE JUDGE

       Notice of a magistrate judge’s availability. In accordance with 28 U.S.C. § 636(c), a United States
magistrate judge of this court is available to conduct all proceedings in this civil action (including a
jury or nonjury trial) and to order the entry of a final judgment. The judgment may then be appealed
directly to the United States Court of Appeals for the Seventh Circuit like any other judgment of this
court. A magistrate judge may exercise this authority only if all parties voluntarily consent. You may
consent to have your case referred to a magistrate judge, or you may withhold your consent without
substantive adverse consequences.

Note: If this case is transferred on consent to a magistrate judge, major criminal cases will not
interfere with its scheduling and progress. This means that it is likely this civil case will be resolved
sooner and at less expense to the parties if a magistrate judge decides the case.

      Consent to a magistrate judge’s authority. The following parties consent to have a magistrate
judge conduct all proceedings in this case including trial, entry of final judgment, and all post-trial
proceedings.

Printed Name of Party                      Signature of Party or Attorney                 Date




Attorneys should electronically file this form under seal with the clerk of court only if consenting to the
exercise of jurisdiction by a magistrate judge (use the event “Consent/Non-Consent to US Magistrate Judge
located under “Other Filings, Other Documents.”). Do not send this form to the judge. Unrepresented parties
should submit the form to the clerk in paper format. Illinois Department of Corrections institutions
participating in the electronic filing program should transmit the form electronically for e-filing by the clerk.
Each party may file an executed form independently, or the parties may circulate one form to be signed by all
and electronically filed when all signatures are obtained.
✎AO 85 (Rev. 01/09)
MODIFIED SDIL (7/2013)
